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Bill Lann Lee State Bar No. 10842)
Michael W. Sobol (State Bar No. 194857)
LIEFF, CABRASE , HEIMANN &
BERNSTEIN, LLP

275 Battery Street, 30th Floor

San Francisco, CA 94111-3339
Telephone: (415) 15) 956-1000

Facsimile: (415) 956-1008

Attorneys for Plaintiffs
{ Additional Counsel listed on signature page]

 

 

 

 

 

 

 

 

 

 

 

 

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UNITED STATES DISTRICT COU : co
CENTRAL DISTRICT OF CALIFORNIA =3 =
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TERRI N. WHITE, ROBERT SACVOS5 invan 0€ (Le
RADCLIFFE, CHESTER CARTER, Case No. ao BVeG
and ARNOLD LOVELL, Jr., @&, TT
Plaintiffs,
Vv. CLASS ACTION COMPLAINT
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EXPERIAN INFORMATION! [CCE I EO GEO
SOLUTIONS, INC., |
Defendant. NOY TA 2005 |
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1. Plaintiff, Terri N. White, Robert Radcliffe, Chester Carter and
Arnold Lovell, Jr. (“Plaintiffs”) on behalf of themselves and all others similarly
situated, bring this complaint, by and through their attorneys, for injunctive relief
and damages arising out of the systematic issuance of erroneous credit reports by
defendant Experian Information Solutions, Inc. (“Experian”). Experian has
erroneously reported legally and properly discharged debts of Plaintiffs and the
Class as due and owing, with consistent and knowing disregard for their rights and
its own statutory obligations. Experian has negligently and willfully failed to
employ reasonable procedures—including procedures readily available to it of

which it is aware—to ensure maximum possible accuracy of its credit reports.

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Even after Plaintiffs and the Class have informed Experian of the falsely reported
discharged debts as due and owing, Experian has negligently and willfully failed to
consistently and adequately correct the erroneous information. Experian’s conduct
violates the Federal Fair Credit Reporting Act (““FCRA”), the California Consumer
Credit Reporting Agencies Act (“CCRAA”), and the California Unfair Competition
Law (“UCL”).
JURISDICTION AND VENUE

2. Original jurisdiction is conferred on this Court by 28 U.S.C. §
1331, as a civil action arising under the laws of the United States, and by 15 U.S.C.
§ 1681(p), as a civil action to enforce a liability created under the FCRA.
Supplemental jurisdiction is conferred on this Court by 28 U.S.C. § 1367 over all
claims based on State law that are so related to claims within its original
jurisdiction that they form part of the same case or controversy under Article III of
the U.S. Constitution.

3, Venue is properly in this District pursuant to 28 U.S.C. §
1391(b), as defendant resides in this District, plaintiff White resides in this district,

and a substantial part of the events or omissions giving rise to plaintiffs’ claims

occurred here.
PARTIES
4, Plaintiff Terri N. White is a resident of Long Beach, California.
5. Plaintiff Robert Radcliffe is a resident of Spring Hill, Florida.
6. Plaintiff Chester Carter is a resident of Bushkill, Pennsylvania.
7. Plaintiff Arnold Lovell, Jr. is a resident of New York, New
York.
8. Experian is a corporation existing under the laws of the State of

Delaware with its principal place of business in Costa Mesa, California.

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FACTS

9. Plaintiffs are among the hundreds of thousands of persons
throughout the United States who have filed petitions for bankruptcy pursuant to
Chapter 7 of the U.S. Bankruptcy Code and who have been granted orders of
discharge by a U.S. Bankruptcy Court. Under federal bankruptcy laws, such an
order fully and completely discharges all statutorily dischargeable debts incurred
prior to the filing of the petition, except for those that have been: (1) reaffirmed by
the debtor in a reaffirmation agreement; or (2) successful challenged by one of his
creditors in a related adversary proceeding. Plaintiffs and the Class are persons for
whom such debts have been discharged through bankruptcy.

10. Experian is regularly engaged in the practice of assembling and
evaluating consumer credit information for the purpose of furnishing to third parties
reports of consumers’ credit histories, commonly referred to as “credit reports,” and
defined as “consumer reports” under 15 U.S.C. § 1681a and Cal. Civ. Code §
1785.3(c) (hereinafter, “Credit Reports”). Experian uses means and facilities of
interstate commerce for the purpose of preparing and furnishing Credit Reports and,
hence, is a “consumer reporting agency” within the meaning of FCRA, 15 U.S.C. §
168la(f). Likewise, Experian is a “consumer reporting agency” within the meaning
of CCRAA, Cal. Civ. Code § 1785.3(d).

11. Through the computerized court reporting service known as
PACER, Experian obtains access to each and every discharge order issued by a
U.S. Bankruptcy Court in Chapter 7 proceedings. Experian accurately records
those orders in the public records section of its Credit Reports.

12. The diligence that Experian exercises in recording bankruptcy
filings in the Credit Reports of Plaintiffs and the Class is not replicated in
Experian’s reporting of the effect of those orders upon the status of their discharged

debts—that is, Experian grossly over-reports as due and owing debts that have been

discharged.

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13. Information relating to whether a debt has been discharged or
remains due and owing is retrievable from PACER through automated,
computerized means, just like information establishing the existence of a filed
Chapter 7 bankruptcy petition and a discharge order granting that petition. Thus,
were Experian to employ procedures of which it is fully aware, Experian could
achieve close to 100 percent accuracy in the reporting of the status of pre-
bankruptcy debts.

14. Experian, however, has failed to use available services within
PACER to determine which dischargeable debts have, in fact, been discharged and
which, if any, remain due and owing. Instead, Experian reports information
regarding pre-bankruptcy debts furnished by consumers’ creditors.

15. Asa direct result, Experian’s procedures produce an error rate
that is both staggering and outrageous. Plaintiffs’ counsels’ pre-filing investigation
of approximately 985 Credit Reports issued by Experian reveals that in about 76
percent of those reports, Experian erroneously listed one or more of the discharged
debts as due and owing. The average number of such falsely listed debts was
between three and four per report and, in some cases, the number of such errors was
ten or more.

16. Experian knows or should know that the Credit Reports it has
issued regarding Plaintiffs and the Class are grossly inaccurate with respect to the
status of pre-bankruptcy debts. Over the years, Experian has received thousands of
dispute letters from consumers informing it that it has erroneously recorded one or
more of their pre-bankruptcy debts as due and owing on Experian credit reports.
Moreover, dozens of these consumers have brought suit against Experian seeking
damages based on the same inaccurate reporting procedures that are being
challenged here.

17. Experian, therefore, knows or should know that its procedures
for reporting the status of pre-bankruptcy debts fail to assure maximum possible

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accuracy. Despite knowing that its procedures contravene the statutory rights of
consumers or in reckless disregard of whether they contravene those rights,
Experian continues to employ inaccurate reporting procedures.

18. Experian has also failed to fulfill its legal and statutory
obligation to reinvestigate and correct the status of the discharged debts it has
falsely reported as due and owing. Experian’s policies and procedures regarding
the reinvestigation of those debts are woefully inadequate.

19. Over the past several years, thousands of consumers have
written dispute letters to Experian requesting that Experian correct its erroneous
reporting of their discharged debts as due and owing because those debts had, in
fact, been discharged in bankruptcy. Plaintiffs’ counsels’ pre-filing investigation
reveals that of approximately 340 Credit Reports prepared by Experian in response
to dispute letters (where consumers inform Experian that it erroneously reported
their discharged debts as due and owing), Experian continued to falsely report those
debts as due and owing in approximately twenty-four percent of the cases, despite
the fact that each such letter included a copy of court records showing that the debts
at issue had been discharged.

20. By failing to adopt or maintain reasonable reasonable
reinvestigation procedures for correcting the erroneous information it records in its
Credit Reports concerning the status of discharged debts of individuals with court-
approved bankruptcy petitions, Experian has acted in willful and reckless disregard
of their rights and its obligations under the FCRA and the CCRAA.

21. Asa direct consequence of Experian’s grossly inadequate and
inaccurate initial reporting and reinvestigation practices and procedures, Plaintiffs
and the Class have been effectively denied the fresh start to which they are legally
entitled under the U.S. Bankruptcy Code.

22. Ineach case, Plaintiffs’ and the Class’ credit ratings have been

adversely affected by Experian’s erroneous Credit Report. Plaintiffs and the Class

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have experienced greater difficulty in acquiring credit and, when they have been
able to do so, it has been at interest rates that are higher than the rates they would
have been offered had Experian accurately reported their credit information. In
many cases, the applications of class members for credit have been refused as a

direct result of the inaccurate information contained in their Experian credit reports.

Experian’s Production Of Erroneous Credit Reports
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Terri N. White

23. Plaintiff Terri N. White filed a Chapter 7 bankruptcy petition in
September 2004.

24. On January 11, 2005, by an order of the Bankruptcy Court,
Plaintiff White’s Chapter 7 bankruptcy discharge was granted, and, as a result,
Plaintiff White obtained a full discharge of all of her dischargeable debts incurred
prior to the filing of that petition.

25. Subsequently, Experian issued one or more Credit Reports
concerning Plaintiff White to one or more third parties, including sending a Credit
Report to Macys/FDSB in February 2005, to Midland Credit Management in
February 2005 and to National Magazine Exchange in March 2005. On each such
occasion, Experian reported Plaintiff White’s filing of a Chapter 7 bankruptcy
petition, but erroneously listed four of her discharged debts as due and owing,
including a debt to Parkchester Preservation Company in the amount of $5,837, a
debt to Palisades Collection LLC in the amount of $2,236, a debt to Providian
Financial in the amount of $961 and a debt to Providian Financial in the amount of
$1,247.

26. Inor around February 2005, Plaintiff White requested that
Experian provide her with a copy of a Credit Report. In March 2005, she received
a copy of her Credit Report from Experian demonstrating that Experian had

erroneously listed four of her discharged debts as due and owing on that report.

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27. Following their receipt of plaintiff White’s erroneous Credit
Report, third parties have denied her credit or extended her credit on less favorable
terms than they otherwise would have.

Robert Radcliffe

28. Plaintiff Robert Radcliffe filed a Chapter 7 bankruptcy petition
in August 2001.

29. On December 20, 2001, by an order of the Bankruptcy Court,
Plaintiff Radcliffe’s Chapter 7 bankruptcy discharge was granted, and, as a result,
Plaintiff Radcliffe obtained a full discharge of all of his dischargeable debts
incurred prior to the filing of that petition. Subsequently, in or around April 2005,
Experian issued a Credit Report concerning Plaintiff Radcliffe. Experian reported
Plaintiff Radcliffe’s filing of a Chapter 7 bankruptcy petition, but erroneously listed
two of his discharged debts as due and owing, including a debt to Providian
National Bank in the amount of $6,835 and to First USA Bank in the amount of
$13,291.

30. Following their receipt of plaintiff Radcliffe’s erroneous Credit
Report, third parties have denied him credit or extended him credit on less
favorable terms than they otherwise would have.

Chester Carter

31. Plaintiff Chester Carter filed a Chapter 7 bankruptcy petition in
January 2000.

32. On April 27, 2000, by an order of the Bankruptcy Court,
Plaintiff Carter’s Chapter 7 bankruptcy discharge was granted, and, as a result,
Plaintiff Carter obtained a full discharge of all of his dischargeable debts incurred
prior to the filing of that petition. Subsequently, Experian issued one or more
Credit Reports concerning Plaintiff Carter to one or more third parties, including
sending a Credit Report to Landsafecredit on December 21, 2004, to Capital One
Bank on July 7, 2004, to Info One on November 21, 2003, and to Citifinancial on

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August 28, 2003. On each such occasion, Experian reported Plaintiff Carter’s filing
of a Chapter 7 bankruptcy petition, but erroneously listed three of his discharged
debts as due and owing, including a debt to Chase in the amount of $2,118, a debt
to Anderson Financial in the amount of $215, and a debt to First Collection
Services in the amount of $301.

33. Following their receipt of plaintiff Carter’s erroneous Credit
Report, third parties have denied him credit or extended him credit on less
favorable terms than they otherwise would have.

Arnold E. Lovell, Jr.

34. Plaintiff Arnold E. Lovell, Jr. filed a Chapter 7 bankruptcy
petition in September 2004.

35. On December 29, 2004, by an order of the Bankruptcy Court,
Plaintiff Lovell’s Chapter 7 bankruptcy discharge was granted, and, as a result,
Plaintiff Lovell obtained a full discharge of all of his dischargeable debts incurred
prior to the filing of that petition. Subsequently, Experian issued one or more
Credit Reports concerning Plaintiff Lovell to one or more third parties, including
sending a Credit Report to American Express in January, February and March 2005
and to Chase in January and February 2005. On each such occasion, Experian
reported Plaintiff Lovell’s filing of a Chapter 7 bankruptcy petition, but erroneously
listed three of his discharged debts as due and owing, including a debt to Chase in
the amount of $7,868, to Chase in the amount of $9,702, and to Universal/Citi.

36. On March 25, 2005, Plaintiff Lovell wrote a dispute letter to
Experian stating that the discharged debts Experian erroneously reported as due and
owing had, in fact, been discharged in bankruptcy, and requesting that Experian
correct his Credit Report. (Along with that letter, Plaintiff enclosed a copy of his
driver’s license, indicating proof of address, and a copy of the schedule F from his
bankruptcy petition, listing the debts that were discharged as a result of that
bankruptcy.)

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37. Although Plaintiff Lovell had provided Experian all information
needed to correct the erroneous entries in the Credit Report, and although Experian
already had sufficient information or access to sufficient information to issue an
accurate Credit Report, Experian failed to correct the Credit Report. Instead,
Experian responded by producing a new but still erroneous Credit Report that
continued to list both of his discharged debts to Chase as well as his discharged
debt to Universal/Citi as due and owing.

38. Following their receipt of plaintiff Lovell’s erroneous credit
report, third parties have denied him credit or extended him credit on less favorable
terms than they otherwise would have.

CLASS ALLEGATIONS

39. Plaintiffs seek to maintain this action as a class action
(including, any appropriate subclasses) representing a class consisting of the
following:

All individuals who, on or after March 15, 2002, have had

a credit report relating to them issued by Experian in

which one or more of their debts was listed as due and

owing despite the fact that such debts had been

discharged as a result of their bankruptcy under Chapter 7

of the Bankruptcy Code.

40. Ascertainability/Numerosity: The class is ascertainable in that it
is comprised of individuals who can be identified by reference to purely objective
criteria. There are hundreds of thousands of members of the class and, therefore, it
would be impracticable to bring all, or even a substantial percentage of, such
persons before the Court as individual plaintiffs.

41. Typicality: The claims of the named plaintiffs are typical of the
claims of each member of the class they seek to represent because: (1) they have all
been injured in the same manner as a result of Experian’s woefully inadequate

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procedures regarding the reporting of debts that have been discharged in
bankruptcy; and (2) their claims are all based on the same legal theory.

42. Adequacy of Representation: Plaintiffs are adequate
representatives of the class they seek to represent because: (a) they are willing and
able to represent the proposed class and have every incentive to pursue this action
to a successful conclusion; (b) their interests are not in any way antagonistic to
those of the other class members; and (c) they are represented by counsel
experienced in litigating major class actions and claims under the FCRA and other
consumer protections statutes.

43. Commonality and Predominance: There are questions of law
and fact common to all members of the Class, which predominate over any
individual issues. The overarching questions of law and fact that are common to all
members of the class are whether: (a) in preparing credit reports concerning
individuals whose debts have been discharged in bankruptcy, Experian has failed to
follow reasonable procedures to ensure maximum possible accuracy of the
information pertaining to the status of those debts in accordance with the
requirements of 15 U.S.C. § 1681e(b) and Cal. Civ. Code § 1785.14(b); (b)
Experian’s failure to comply with the requirements of 15 U.S.C. § 1681e(b) and
Cal. Civ. Code § 1785.14(b) is negligent pursuant to 15 U.S.C. § 16810(a) and Cal.
Civ. Code § 1785.31(a)(1), respectively; and (c) Experian’s failure to comply with
the requirements of 15 U.S.C. § 1681e(b) and Cal. Civ. Code § 1785.14(b) is
willful pursuant to 15 U.S.C. § 1681n(a) and Cal. Civ. Code § 1785.31(b),
respectively.

44. Propriety Of Class Certification Under Fed. R. Civ. P. 23(b)(2).
Class certification is appropriate under Fed. R. Civ. P. 23(b)(2) because Experian
has acted and/or refused to act on grounds generally applicable to the class, thereby
making declaratory and final injunctive relief appropriate. Such generally
applicable grounds consist of Experian’s conduct in failing and refusing to follow

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reasonable procedures to assure maximum possible accuracy in connection with its
reporting of the status of debts that have been discharged following the issuance of
an order approving a consumer’s Chapter 7 bankruptcy discharge.

45. Propriety Of Class Certification Under Fed. R. Civ. P. 23(b)(3).
Class certification is also appropriate under Fed. R. Civ. P. 23(b)(3). As set forth
above, questions of law and fact common to the class predominate over questions
affecting only individual members. Moreover, the class action vehicle is superior
to other available methods for the fair and efficient adjudication of the claims of
members of the proposed class. For the vast majority of members of the class, the
amount of any potential recovery is too small to justify the cost of prosecuting their
claims individually, despite the availability of costs and attorney fees in the event
they were to prevail on the merits. Further, requiring each class member to pursue
his or her claim individually would entail needless duplication of effort, would
waste the resources of both the parties and the Court, and would risk inconsistent
adjudications.

SUBCLASS ALLEGATIONS

46. Plaintiff Lovell also seeks to maintain this action on behalf of a
subclass consisting of the following:

All individuals included in the class described in

paragraph 40 above whose discharged debts continued to

be erroneously reported by Experian as due and owing

after it had received a dispute letter informing it that those

debts had, in fact, been discharged.

47. Ascertainability/Numerosity: The subclass is ascertainable in
that it is comprised of individuals who can be identified by reference to purely
objective criteria. There are hundreds or thousands of members of the subclass and,
therefore, it would be impracticable to bring all, or even a substantial percentage of,

such persons before the Court as individual plaintiffs.

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48.  Typicality: The claims of Plaintiff Lovell are typical of the
claims of each member of the subclass they seek to represent because: (1) they have
all been injured in the same manner as a result of Experian’s woefully inadequate
reinvestigation procedures regarding the reporting of debts that have been
discharged in bankruptcy; and (2) their claims are all based on the same legal
theory.

49. Adequacy of Representation: Plaintiff Lovell is an adequate
representative of the subclass they seek to represent because: (a) he is willing and
able to represent the proposed subclass and have every incentive to pursue this
action to a successful conclusion; (b) his interests are not in any way antagonistic to
those of the other subclass members; and (c) he is represented by counsel
experienced in litigating major class actions and claims under the FCRA and other
consumer protections statutes.

50. Commonality and Predominance: There are questions of law
and fact common to all members of the subclass, which predominate over any
individual issues. The overarching questions of law and fact that are common to all
members of the subclass are whether: (a) in responding to dispute letters of
individuals whose debts have been discharged in bankruptcy, Experian has violated
15 U.S.C. § 1681i(a) and Cal. Civ. Code § 1785.16 by failing to follow reasonable
reinvestigation procedures for ascertaining the accuracy of information pertaining
to those debts in its credit reports; (b) Experian’s failure to comply with the
requirements of 15 U.S.C. § 16811i(a) and Cal. Civ. Code § 1785.16 is negligent
pursuant to 15 U.S.C. § 1681o(a) and Cal. Civ. Code § 1785.31(a)(1), respectively;
and (c) Experian’s failure to comply with the requirements of 15 U.S.C. § 1681i(a)
and Cal. Civ. Code § 1785.16 is willful pursuant to 15 U.S.C. § 1681n(a), and Cal.
Civ. Code § 1785.31(a)(2), respectively.

51. Propriety Of Class Certification Under Fed. R. Civ. P. 23(b)(2).
Certification of the subclass is appropriate under Fed. R. Civ. P. 23(b)(2) because

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Experian has acted and/or refused to act on grounds generally applicable to the
subclass, thereby making declaratory and final injunctive relief appropriate. Such
generally applicable grounds consist of Experian’s conduct in failing and refusing
to follow reasonable reinvestigation procedures in connection with its erroneous
reporting of debts that have been discharged following the issuance of an order
approving a consumer’s Chapter 7 bankruptcy petition.

52. Propriety Of Class Certification Under Fed. R. Civ. P. 23(b)(3).
Class certification is also appropriate under Fed. R. Civ. P. 23(b)(3). As set forth
above, questions of law and fact common to the class predominate over questions
affecting only individual members. Moreover, the class action vehicle is superior
to other available methods for the fair and efficient adjudication of the claims of
members of the proposed subclass. For the vast majority of members of the
subclass, the amount of any potential recovery is too small to justify the cost of
prosecuting their claims individually, despite the availability of costs and attorney
fees in the event they were to prevail on the merits. Furthermore, requiring each
subclass member to pursue his or her claim individually would entail needless
duplication of effort, would waste the resources of both the parties and the Court,

and would risk inconsistent adjudications.
FIRST CAUSE OF ACTION

Willful Failure To Employ Reasonable Procedures To Ensure Maximum
Accuracy Of Credit Reports In Violation Of 15 U.S.C. § 1681e(b) And Cal.
Civ. Code § 1785.14(b)

(On behalf of all Plaintiffs and Class Members)

53. The allegations set forth in paragraphs 1-52 above are realleged

and incorporated by reference as if fully set forth herein.
54. Experian is regularly engaged in the practice of assembling and
evaluating consumer credit information for the purpose of preparing consumer

reports, as that term is defined in 15 U.S.C. § 1681a(d) and Cal. Civ. Code

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§ 1785.3(c), commonly referred to as Credit Reports, and furnishing these Credit
Reports to third parties.

55. Experian uses means and facilities of interstate commerce for
the purpose of preparing and furnishing Credit Reports and, hence, is a “consumer
reporting agency” within the meaning of 15 U.S.C. § 1681a(f). Experian is
likewise a “consumer reporting agency” within the meaning of Cal. Civ. Code
§ 1785.3(d).

56. In preparing Credit Reports, Experian has failed to use
reasonable procedures to, as required by law, “assure maximum possible accuracy”
of information relating to the discharged debts of Plaintiffs and the Class, in
violation of 15 U.S.C. § 1681e(b) and Cal. Civ. Code § 1785.14(b).

57. As aresult of Experian’s failure to use reasonable procedures in
accordance with the requirements of 15 U.S.C. § 1681e(b) and Cal. Civ. Code
§ 1785.14(b), Experian has erroneously reported as due and owing one or more of
the discharged debts of each Plaintiff and member of the Class.

58. | Experian’s failure to comply with the requirements of 15 U.S.C.
§ 1681e(b) and Cal. Civ. Code § 1785.14(b) is willful within the meaning of 15
U.S.C. § 1681n(a) and Cal. Civ. Code § 1785.31(a)(2), respectively.

59. As aresult of Experian’s willful noncompliance with the
requirements of 15 U.S.C. § 1681e(b) and Cal. Civ. Code. § 1785.14(b), plaintiffs
and class members are entitled to statutory and punitive damages under 15 U.S.C. §
1681n(a)(1) and (a)(2) and punitive damages under Cal. Civ. Code §§
1785.31(a)(1) and (a)(2), respectively.

60. Asa further result of Experian’s willful noncompliance with the
requirements of 15 U.S.C. § 1681e(b) and Cal. Civ. Code. § 1785.14(b), Plaintiffs
and the Class have suffered damage to their credit ratings and other actual damages,
including, but not limited to, denial of credit, denial of access to consumer services,
losses from difficulty in obtaining credit, losses resulting from imposition of higher

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interest rates when they have been able to obtain credit, lost opportunities to obtain

mortgages, rental properties, automobiles and other goods or services.

SECOND CAUSE OF ACTION

 

 

(On behalf of all Plaintiffs and Class Members)
61. The allegations set forth in paragraphs 1-60 above are realleged

and incorporated by reference as if fully set forth herein.

62. In preparing credit reports relating to plaintiffs and class
members, Experian has failed to follow reasonable procedures to assure maximum
accuracy of information it puts in Credit Reports in violation of 15 U.S.C. §
1681le(b) and Cal. Civ. Code § 1785.14(b).

63. As aresult of Experian’s failure to follow reasonable procedures
in accordance with the requirements of 15 U.S.C. § 1681e(b) and Cal. Civ. Code §
1785.14(b), Experian has erroneously reported one or more of the discharged debts
of each Plaintiff and Class member as “due and owing” in Credit Reports.

64. Experian’s failure to comply with the requirements of 15 U.S.C.
§ 1681e(b) and Cal. Civ. Code § 1785.14(b) is negligent within the meaning of 15
U.S.C. § 1681o(a) and Cal. Civ. Code § 1785.31(a)(1), respectively.

65. As aresult of Experian’s negligent violation with the
requirements of 15 U.S.C. § 1681e(b) and Cal. Civ. Code § 1785.14(b), Plaintiffs
and class members have suffered damage to their credit ratings and other actual
damages, including, but not limited to, denial of credit, denial of access to
consumer services, losses from difficulty in obtaining credit, losses resulting from
imposition of higher interest rates when they have been able to obtain credit, lost

opportunities to obtain mortgages, rental properties, automobiles and other goods or

services.

484694.1 -15-
CLASS ACTION COMPLAINT FOR DAMAGES

 
Case 8:05-cv-01070-DOC-MLG Document1 Filed 11/02/05 Page 16 of 24 Page ID #:16067

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THIRD CAUSE OF ACTION

Willful Failure To Reasonably Reinvestigate In Violation
OT 15 U.S.C. § T681i(a) And Cal. Civ. Codes 1785.16

(On behalf of Plaintiff Lovell and All Subclass Members)

66. The allegations set forth in paragraphs 1-65 above are realleged
and incorporated by reference as if fully set forth herein.

67. Experian has failed to follow reasonable reinvestigation
procedures for ascertaining the accuracy of information relating to the discharged
debts of Plaintiffs and Class members that Experian has erroneously reported as due
and owing in Credit Reports.

68. Asaresult of Experian’s failure to conduct reasonable
reinvestigations in accordance with the requirements of 15 U.S.C. § 1681i(a)(1) and
Cal. Civ. Code § 1785.16, Experian has continued to erroneously report the
discharged debts of Plaintiff Lovell and subclass members as due and owing in its
credit reports relating to those plaintiffs and subclass members, after having been
notified that they are disputing that information.

69. Experian’s failure to comply with the requirements of 15 U.S.C.
§ 16811(a)(1) and Cal. Civ. Code § 1785.16 is willful within the meaning of 15
U.S.C. § 1681n(a) and Cal. Civ. Code § 1785.31(a)(2), respectively.

70. Asaresult of Experian’s willful noncompliance with the
requirements of 15 U.S.C. § 1681i(a)(1) and Cal. Civ. Code. § 1785.16, Plaintiff
Lovell and subclass members are entitled to statutory and punitive damages under
15 U.S.C. § 1681n(a)(1) and (a)(2) and punitive damages under Cal. Civ. Code §§
1785.31(a)(1) and (a)(2), respectively.

71. Asa further result of Experian’s willful noncompliance with the
requirements of 15 U.S.C. § 1681i(a)(1) and Cal. Civ. Code § 1785.16, Plaintiff
Lovell and subclass members have suffered damage to their credit ratings and other

actual damages, including, but not limited to, denial of credit, denial of access to

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CLASS ACTION COMPLAINT FOR DAMAGES

 
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consumer services, losses from difficulty in obtaining credit, losses resulting from
imposition of higher interest rates when they have been able to obtain credit, lost
opportunities to obtain mortgages, rental properties, automobiles and other goods or

Services.

FOURTH CAUSE OF ACTION

Negligent Failure To Reasonably Reinvestigate In Violation
OF 15 U.S.C. § 168Ti(a) And Cal. Civ. Code § 1785.16
(On behalf of Plaintiff Lovell and All Subclass Members)

72. The allegations set forth in paragraphs 1-71 above are realleged
and incorporated by reference as if fully set forth herein.

73. Experian has failed to follow reasonable reinvestigation
procedures for ascertaining the accuracy of information relating to the discharged
debts of plaintiffs and class members that Experian has listed as due and owing in
its credit reports.

74.  Asaresult of Experian’s failure to conduct reasonable
reinvestigations in accordance with the requirements of 15 U.S.C. § 16811(a)(1) and
Cal. Civ. Code § 1785.16, Experian has continued to erroneously report the
discharged debts of Plaintiff Lovell and subclass members as due and owing in
Credit Reports relating to those plaintiffs and subclass class members, after having
been notified that they are disputing that information.

75. Experian’s failure to comply with the requirements of 15 U.S.C.
§ 1681i(a)(1) and Cal. Civ. Code § 1785.16 is negligent within the meaning of 15
U.S.C. § 16810(a) and Cal. Civ. Code § 1785.31(a)(1), respectively.

76. Asaresult of Experian’s negligent noncompliance with the
requirements of 15 U.S.C. § 16811i(a)(1) and Cal. Civ. Code § 1785.16, Plaintiff
Lovell and subclass members have suffered damage to their credit ratings and other
actual damages, including, but not limited to, denial of credit, denial of access to

consumer services, losses from difficulty in obtaining credit, losses resulting from

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CLASS ACTION COMPLAINT FOR DAMAGES

 

 
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imposition of higher interest rates when they have been able to obtain credit, lost
opportunities to obtain mortgages, rental properties, automobiles and other goods or

services.

FIFTH CAUSE OF ACTION
Unfair Competition In Violation Of The UCL

(On behalf of all Plaintiffs and all Class Members)
77. The allegations set forth in paragraphs 1-76 above are realleged

and incorporated by reference as if fully set forth herein.

78. Experian’s failure to follow reasonable procedures to assure
maximum accuracy in connection with its reporting of the status of discharged
debts is unlawful under both 15 U.S.C. § 1681e(b) and Cal. Civ. Code § 1785.14(b)
and, hence, constitutes unlawful business competition within the meaning of the
California Unfair Competition Law, Cal. Bus. & Prof. Code, §§ 17200 et seq.
(“UCL”).

79. Experian’s failure to follow reasonable reinvestigation
procedures in connection with its reporting of the status of discharged debts is
unlawful under 15 U.S.C. § 16811(a)(1) and Cal. Civ. Code § 1785.16 and, hence,
constitutes unlawful business competition within the meaning of the UCL.

80. Experian’s erroneous reporting in Credit Reports of debts as due
and owing, but which have in fact been legally discharged pursuant to orders of the
U.S. Bankruptcy Court constitutes unfair business competition within the meaning
of the UCL.

81. Experian’s failure to follow reasonable reinvestigation
procedures in connection with its reporting of the status of discharged debts
constitutes unfair business competition within the meaning of the UCL.

82. Asaresult of Experian’s unfair or unlawful business practices,
Plaintiffs and the Class have suffered injury in fact and have suffered loss of money
or property, including, without limitation, in the following ways: Credit Reports

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CLASS ACTION COMPLAINT FOR DAMAGES

 
Case 8:05-cv-01070-DOC-MLG Document1 Filed 11/02/05 Page 19 of 24 Page ID.#:16070

 

erroneously reporting their credit histories have been publicly disseminated to third
parties; their credit scoring has been adversely affected; and they have been denied
credit or received credit on terms that are less favorable than if their Credit Reports
had been accurate.

83. As aresult of Experian’ unfair or unlawful business practices,
Plaintiffs and the Class are entitled to injunctive relief.

WHEREFORE, Plaintiffs respectfully pray:

1. That the practices and procedures of Experian complained of
herein be determined and adjudged to be in violation of the rights of plaintiffs and
class members under the FCRA, the CCRAA, and the UCL;

2. That a permanent injunction be issued requiring Experian to
adopt investigation and reinvestigation practices in accord with the requirements of
the FCRA, the CCRAA, and the UCL;

3. That the Court enter an Order certifying the Class and Subclass
alleged herein pursuant to Fed. R. Civ. P. 23(b)(2) or 23(b)(3);

4, That, in accordance with 15 U.S.C. §§ 1681n(a) and 168 1o(a)
and Cal. Civ. Code §§ 1785.31(a)(1) and (a)(2), judgment be entered in favor of
plaintiffs and the class, either individually or class-wide, and against Experian for
actual, statutory and/or punitive damages in amounts to be determined at trial;

5. That, in accordance with 15 U.S.C. §§ 1681n(a)(3) and
1681o(a)(2) and Cal. Civ Code §§ 1785.31(a), (d) and (e), plaintiffs and the class be
awarded the costs of this action together with reasonable attorney’s fees as the
Court may determine;

6. That plaintiffs and class members be awarded such other and
further legal and equitable relief as may be found appropriate and as the Court may

deem equitable and just.

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CLASS ACTION COMPLAINT FOR DAMAGES

 
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1 DEMAND FOR TRIAL BY JURY
2 Pursuant to Fed. R. Civ. P. 38, Plaintiffs hereby demand a trial by jury
3 | on all issues so triable.
4 | ;
Dated: November !,2005 Respectfully submitted,
5
6
By: WI ASL
7 Bill Lann yee
Michael W. Sobol
8 LIEFF, CABRASER, HEIMANN
& BERNSTEIN, LLP
9 275 Battery Street, 30th Floor
San Francisco, CA 94111-3339
10 Telephone: (4 15) 956-1000
11 Daniel Wolf
1220 N Street, N.W., Suite PH 2
12 Washington, D.C. 20005
Telephone: (202) 772-1154
13
Charles W. Juntikka (cj4689)
14 CHARLES JUNTIKKA & ASSOCIATES
11 W. 42nd Street, 12th Floor
15 New York, NY 10036
Telephone: (212) 315-3755
16
Counsel for Plaintiffs
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CLASS ACTION COMPLAINT FOR DAMAGES

 

 
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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

 

I (a) PLAINTIFFS (Check box if you are representing yourself LD)

Terri N. White
Robert Radcliffe
Chester Carter
Arnold Lovell, Jr.

(b) County of Residence of First Listed Plaintiff (Except in U.S. Plaintiff Cases):
Los Angeles County, California

DEFENDANTS
Experian Information Solutions, Inc.

County of Residence of First Listed Defendant (In U.S. Plaintiff Cases Only):

 

(c) Attorneys (Firm Name, Address and Telephone Number. If you are representing

yourself, provide same.)
Bill Lann Lee
Michael W. Sobol

LIEFF, CABRASER, HEIMANN & BERNSTEIN, LLP
275 Battery Street, 30th Floor
San Francisco, CA 94111-3339

Attorneys (If Known)

 

 

Il. BASIS OF JURISDICTION (Place an X in one box only.)

011 U.S. Government Plaintiff

[2 U.S. Government Defendant

(Place an X in one box for plaintiff and one for defendant.)

PTF DEF
O1 O1

(3 Federal Question (U.S.

Government Not a Party) Citizen of This State

(1 4 Diversity (Indicate Citizenship
of Parties in Item Ii]

Citizen of Another State O2 02

Citizen or Subject of a Foreign Country (13 [13 Foreign Nation

 

IV. ORIGIN (Place an X in one box only.)

Incorporated or Principal Place
of Business in this State

Incorporated and Principal Place 15
of Business in Another State

HI. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only

PTF
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Oe O6

wi Original C12 Removed from []3 Remanded from [14 Reinstatedor [15 Transferred from another district (specify): [1 6 Multi- (17 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
. Litigation | Magistrate Judge

 

V, REQUESTED IN COMPLAINT: JURY DEMAND: Yes (1 No (Check ‘Yes’ only if demanded in complaint.)

CLASS ACTION under F.R.C.P. 23: Yes

ONo [MONEY DEMANDED IN COMPLAINT: $

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

Federal Fair Credit Reporting Act, 15 U.S.C. §§ 1680, et seq. Failure to use reasonable procedures to assure maximum possible accuracy in credit
reporting and failure to use reasonable reinvestigation procedures.

VII. NATURE OF SUIT (Place an X in one box only.)

 

 
    

   

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State Reapportionment
Antitrust

Banks and Banking
Commerce/ICC
Rates/etc.

Deportation

Racketeer Influenced
and Corrupt
Organizations
Consumer Credit
Cable/Sat TV
Selective Service
Securities/Commodities
/Exchange

Customer Challenge 12
USC 3410

Other Statutory Actions
Agricultural Act
Economic Stabilization
Act

Environmental Matters
Energy Allocation Act
Freedom of Info. Act
Appeal of Fee Determi-
nation Under Equal
Access to Justice
Constitutionality of
State Statutes

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Insurance PERSONAL INJURY: : PERSONAL PETITION 11710 Fair Labor Standards

11120 Marine 0310 Airplane PROPERTY Motions to Act -

(1 130 Miller Act (11315 Airplane Product | 370 Other Fraud Vacate Sentence | 720 Labor/Mgmt.

[] 140 Negotiable Instrument Liability 371 Truth in Lending Habeas Corpus Relations

1 150 Recovery of (3 320 Assault, Libel & [1380 Other Personal | 530 General 01730 Labor/Mgmt.
Overpayment & Slander Property Damage JT] 535 Death Penalty Reporting &
Enforcement of 1 330 Fed. Employers’ |[1 385 Property Damage |[] 540 Mandamus/ Disclosure Act
Judgment Liability Product Liability Other {1 740 Railway Labor Act

11 151 Medicare Act [1340 Marine 01550 Civil Rights [1790 Other Labor

0 152 Recovery of Defaulted |[1 345 Marine Product [1422 Appeai28 USC |L1 555 Prison Condition Litigation
Student Loan (Excl. Liability 158 11791 Empl. Ret. Inc.
Veterans) (1 350 Motor Vehicle 0 423 Withdrawal 28 i

O00 153 Recovery of [1 355 Motor Vehicle Agriculture GE
Overpayment of Product Liability ( (J 620 Other Food & |( 820 Copyrights
Veteran’s Benefits 0 360 Other Personal oting Drug 1 830 Patent

0 160 Stockholders’ Suits Injury 0 442 Employment C] 625 Drug Related

0 190 Other Contract (3 362 Personal Injury. [13 443 Housing/Acco- Seizure of SE

01195 Contract Product Med Malpractice mmodations Property 21 USC (139.
Liability (1365 Personal Injury- | 444 Welfare 881 0 862 Black Lung (923)

1) 196 Franchise _ Product Liability {11445 American with [1] 630 Liquor Laws 0 863 DIWC/DIWW

|| REAL PROPERTY ___|L1 368 Asbestos Personal Disabilities - [1 640 R.R. & Truck (405(g))

1210 Land Condemnation Injury Product Employment 01 650 Airline Regs C864 SSID Title XVI

01 220 Foreclosure Liability (1446 American with ~ [4 660 Occupational O 865 RSI (g))

C1 230 Rent Lease & Ejectment Disabilities - Safety /Health JERA é

O 240 Torts to Land Other 0 690 Other 870 Taxes (U.S. Plaintiff

(1 245 Tort Product Liability 0 440 Other Civil or Defendant)

(290 All Other Real Property Rights (J 871 IRS-Third Party 26

USC 7609

 

 

 

 

 

VHI(a). IDENTICAL CASES: Has this action been previously filed and dismissed, remanded or closed? WNo Yes

If yes, list case number(s):

FOR OFFICE USE ONLY:

Case Number:

 

  

 

CV-71 (07/05)

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CIVIL COVER SHEET

 
Case 8:05-cv-01070-DOC-MLG Document 1 Filed 11/02/05 Page 22 of 24 Page ID #:16073

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

VIII(b). RELATED CASES: Have any cases been previously filed that are related to the present case? WNo (Yes

If yes, list case number(s):

 

. Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) [ A. Arise from the same or closely related transactions, happenings, or events; or
OB. Call for determination of the same or substantially related or similar questions of law and fact; or
C1 C. For other reasons would entail substantial duplication of labor if heard by different judges; or
[1 D. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

IX. VENUE: List the California County, or State if other than California, in which EACH named plaintiff resides (Use an additional sheet if necessary)
C] Check here if the U.S. government, its agencies or employees is a named plaintiff.
1. Terri N. White, Los Angeles County, California

2. Robert Radcliffe, Florida
3. Chester Carter, Pennsylvania
4. Arnold Lovell, Jr., New York

VL OF ane Count cA

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List the California County, or State if other than California, in which EACH claim arose. (Use an additional sheet if necessary)
Note: In land condemnation cases, use the location of the tract of land involved.

Los Angeles County

se
X. SIGNATURE OF ATTORNEY (OR PRO PER): HY [ / | ip Date [ [ . { ‘ O Ss

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not
filed but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions
sheet.)

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

 

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923) ,

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 ssID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social
Security Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))

CV-71 (07/05) CIVIL COVER SHEET Page 2 of 2

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Case 8:05-cv-01070-DOC-MLG Document1 Filed 11/02/05 Page 23 of 24 Page ID #:16074

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Terri N. White, eat, Psbert Radel Efe, CASE NUMBER
Chaser Garter, and Arnold Lovell) Ic,

 

 

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PLAINTIEFF(S)
Vv.
Experian Information Solutions, Inc.,

 

 

SUMMONS
DEFENDANT(S).

 

 

TO: THE ABOVE-NAMED DEFENDANT(S):

YOU ARE HEREBY SUMMONED and required to file with this court and serve upon plaintiff's attorney
Bill Lann Lee, Michael W. Sobol -, whose address is:

 

Lieff, Cabraser, Heimann & Bernstein
Embarcadero Center West

275 Battery Street, 30th Floor

San Francisco, CA 94111

   

an answer to the [Il complaint O

which is herewith served upon you within: ervice of this | ON
of the day of service. If you fail to do so, “judgement by default will be taken against ra eae relief
demanded in the complaint.

 

 

 

f at,
Clerk, U.S. District Court — , oR
Noy -2 2008,
Dated: _. By: LiZ PADILLA
: Deputy Clerk
(Seal of the Court)

 

 

CV-01A (01/01) — SUMMONS
Case 8:05-cv-01070-DOC-MLG Document1 Filed 11/02/05 Page 24 of 24 Page ID #:16075

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

Pursuant to the Local Rules Governing Duties of Magistrate Judges, the following
Magistrate Judge has been designated to hear discovery motions for this case at the

discretion of the assigned District Judge:

[_] Paul L. Abrams

[_] Robert N. Block

L_] Rosalyn M. Chapman
{_] Charles Eick

L_] Rita Coyne Federman
[_] Paul Game

[X] Mare Goldman

[_] Stephen J. Hillman
L] Jeffrey W. Johnson
L_] Victor B. Kenton

L_] Stephen G. Larson

(MLGx)
L] Jennifer T. Lum
[_] James W. McMahon
L_] Margaret A. Nagle
L] Arthur Nakazato
[_] Fernando M. Olguin
[_] Suzanne H. Segal
[_] Carolyn Turchin
L_] Patrick J. Walsh
[_] Andrew J. Wistrich
[_] Carla Woehrle
L_] Raiph Zarefsky

Upon the filing of a discovery motion, the motion will be presented to the United States

District Judge for consideration and may thereafter be referred to the Magistrate Judge for
hearing and determination. The Magistrate Judge's initials should be used on all
documents filed with the Court so that the case number reads as follows:

SACVO5- 1070 DOC (MLGx)

 

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division [X] Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to fite at the proper location will result in your documents being returned to you.

 

CV-18 (08/02) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
